                  Case 1-23-43691-jmm                         Doc 23       Filed 10/19/23              Entered 10/20/23 00:10:26


                                                               United States Bankruptcy Court
                                                                Eastern District of New York
In re:                                                                                                                 Case No. 23-43691-jmm
Showfields NY 2 LLC                                                                                                    Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0207-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Oct 17, 2023                                               Form ID: 228                                                              Total Noticed: 61
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 19, 2023:
Recip ID                 Recipient Name and Address
db                     + Showfields NY 2 LLC, 187 Kent Avenue, Brooklyn, NY 11249-3471
10254191                 ADT Commercial LLC, PO Box 872987, Kansas City, MO 64187-2987
10254193               + AJ Equity Group LLC, 1648 61st Street, Brooklyn, NY 11204-2109
10254192               + Air Aroma USA, Dist LLC, 251 W 39th St, Fl 8, New York, NY 10018-0771
10254194               + All Pro Handyman, Services, 75-40 61st St., Ridgewood, NY 11385-6124
10254195                 American Traffic Informat, 336 Pulaski Avenue, Staten Island, NY 10303-2632
10254196               + CFG, 180 Maiden Lane, Suite 1502, New York, NY 10038-4925
10254199               + CW Realty Property Mangmt, 16 Waverly Avenue, Brooklyn, NY 11205-1216
10254201               + CW Realty Property Mgmt, 16 Waverly Avenue, Brooklyn, NY 11205-1216
10254197               + Color X Inc., 866 6th Avenue, 6th Fl, New York, NY 10001-4165
10254198               + Complete Office, Interiors, Inc., 91 Broadhollow Rd, Melville, NY 11747-2503
10254202               + Dallas Mitchell, 661 Celveland St, Brooklyn, NY 11208-3507
10254203               + Duggal, 63 Flushing Avenue, Brooklyn, NY 11205-1069
10254205               + Francesca Alfano, Nutrition LLC, 99 Hudson Street, 5th Floor, PMB 6043, New York, NY 10013-2815
10254206               + Galen Patrick DeKemper, 35 Orchard Street, Apt. #2, New York, NY 10002-6177
10254207               + Grace Freyre, 295 Greenwich St., Apt. 2EN, New York, NY 10007-1049
10254210               + HWG Group LLC, 25 Cleveland Pl, New York, NY 10012-4055
10254208               + Hanbenz Art, LLC, 528 East 13th Street, #4C, New York, NY 10009-3556
10254209               + Heydirtboogie, 258 4th Ave, Brooklyn, NY 11215-1051
10254211               + Illustration (USA) Inc., 1170 Tree Swallow Drive, #319, Winter Springs, FL 32708-2826
10254213               + Joann Jimenez, 6420 Saunders Street, Apt. A18, Rego Park, NY 11374-3207
10254214                 Julie Weinstock, 237 E 59th Street, Apt. 5D, New York, NY 10022
10254215               + Jung K. Griffin, 43-16 42nd Street, #3R, Sunnyside, NY 11104-2810
10254216               + Khalia Hayslett, c/o Parker Hanksi LLC, 40 Worth Street, Suite 602, New York, NY 10013-3094
10254217               + La Dolce Vita Events, 465 Parker Street, Newark, NJ 07104-1419
10254218               + Lightwave Technologies, Inc., 94 Hills Station Road, Southampton, NY 11968-3727
10254219               + Lionnel Bumbakini, 148 Patchen Ave, Apt. 4R, Brooklyn, NY 11221-5518
10254220               + MCC Contractor LLC, 515 Madison Avenue, Suite 14B, New York, NY 10022-5494
10254221               + Melio, 124 E 14th Street, New York, NY 10003-4170
10254222                 Monte Art Collection, LLC, 2756 PA-737, Kempton, PA 19529
10254224               + Oksana Borodina, 293 Central Park West, Apt. 6E, New York, NY 10024-3066
10254225               + Premium Electric Inc., 34-27 28th Avenue, Astoria, NY 11103-4914
10254231               + RSM, 461 From Road, Suite 255, Paramus, NJ 07652-3526
10254226              #+ Rachel Cassidy, 202 E 13th St., Apt. 3b, New York, NY 10003-5686
10254227               + Raina, 100 Maspeth Ave, Suite 2C, Brooklyn, NY 11211-2564
10254228               + Raptor Mechanical Inc., 4816 70th St., Woodside, NY 11377-6017
10254229              #+ Retailnext Inc., 60 S Market St, Ste 1000, San Jose, CA 95113-2336
10254230               + Royal Magic, 74 Farrell Court, Staten Island, NY 10306-2085
10254232               + Savanna Bell Stevens, 11 Stuyvesant Oval, Apt. 7F, New York, NY 10009-2005
10254233               + Ship Essential, 25 W. 39th Street, New York, NY 10018-3805
10254235               + Signz, 727 Park Avenue, Brooklyn, NY 11206-5210
                  Case 1-23-43691-jmm                      Doc 23          Filed 10/19/23              Entered 10/20/23 00:10:26


District/off: 0207-1                                                  User: admin                                                                Page 2 of 3
Date Rcvd: Oct 17, 2023                                               Form ID: 228                                                             Total Noticed: 61
10254236                   Social Supply, 1385 Hydrangea Court, Woodbridge, VA 22193
10254237               +   Stern Environmental, Group LLC, 30 Seaview Dr, Secaucus, NJ 07094-1826
10254238               +   Taylor Print & Visual, Impressions Inc., 180 East Union Ave, East Rutherford, NJ 07073-2124
10254239               +   The Editorial Nail Inc., 1661 Nostrand Ave, Apt. 2R, Brooklyn, NY 11226-5596
10254240               +   The Law Offices of Steven, Zakharyayev, LLC, 10 W 37th St., 6th Floor, New York, NY 10018-7481
10254242                   Vida Signs, 25 Canal St., New York, NY 10002-6380
10254243               +   Warren Kalyan PLLC, 1011 Westlake Drive, Austin, TX 78746-4511
10254244               +   Waste Connections, 2630 Park Avenue, Bronx, NY 10451-6015
10254245               +   Waste Connections of, New York Inc., 3 Waterway Square Place, Suite 110, Spring, TX 77380-3488
10254246               +   World Class Contracting, Group, 56-10 Grand Ave, Maspeth, NY 11378-3116
10254247               +   XR Group Corp., 2720 Yates Ave, Apt. 1F, Bronx, NY 10469-5331
10254248               +   ZIMT Media LLC, 430 Zamora Avenue, Miami, FL 33134-3821

TOTAL: 53

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Oct 17 2023 18:21:00      Internal Revenue Service, PO Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
smg                    + Email/Text: DOFBankruptcy@finance.nyc.gov
                                                                                        Oct 17 2023 18:21:00      NYC Department of Finance, 345 Adams Street,
                                                                                                                  Office of Legal Affairs, Brooklyn, NY 11201-3775
smg                    + Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                        Oct 17 2023 18:21:00      NYS Department of Taxation & Finance,
                                                                                                                  Bankruptcy Unit, PO Box 5300, Albany, NY
                                                                                                                  12205-0300
smg                    + Email/Text: labor.sm.ui.bankruptcy@labor.ny.gov
                                                                                        Oct 17 2023 18:21:00      NYS Unemployment Insurance, Attn: Insolvency
                                                                                                                  Unit, Bldg. #12, Room 256, Albany, NY
                                                                                                                  12240-0001
smg                    + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                        Oct 17 2023 18:21:00      Office of the United States Trustee, Eastern
                                                                                                                  District of NY (Brooklyn), Alexander Hamilton
                                                                                                                  Custom House, One Bowling Green, Room 510,
                                                                                                                  New York, NY 10004-1415
smg                    + Email/Text: karen.brown@treasury.gov
                                                                                        Oct 17 2023 18:21:00      United States of America, Secretary of the
                                                                                                                  Treasury, 15th Street & Pennsylvania Ave. NW,
                                                                                                                  Washington, DC 20220-0001
10254223                   Email/Text: DOFBankruptcy@finance.nyc.gov
                                                                                        Oct 17 2023 18:21:00      NYC Department of Finance, 59 Maiden Lane,
                                                                                                                  19th Floor, New York, NY 10038-4502
10254241                   Email/Text: wfmelectronicbankruptcynotifications@verizonwireless.com
                                                                                    Oct 17 2023 18:21:00          Verizon, PO Box 15124, Albany, NY 12212-5124

TOTAL: 8


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
10254200         *+            CW Realty Property Mangmt, 16 Waverly Avenue, Brooklyn, NY 11205-1216
10254212         *P++          INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATIONS, PO BOX 7346, PHILADELPHIA PA
                               19101-7346, address filed with court:, Internal Revenue Service, US Dept of Treasury, Philadelphia, PA 19255-1498
10254234         *+            Ship Essential, 25 W. 39th St., New York, NY 10018-3805
10254204         ##+           Duncan McLeod, 229 Jefferson Street, Brooklyn, NY 11237-2070

TOTAL: 0 Undeliverable, 3 Duplicate, 1 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.
                   Case 1-23-43691-jmm                      Doc 23         Filed 10/19/23          Entered 10/20/23 00:10:26


District/off: 0207-1                                                  User: admin                                                       Page 3 of 3
Date Rcvd: Oct 17, 2023                                               Form ID: 228                                                    Total Noticed: 61

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 19, 2023                                            Signature:          /s/Gustava Winters




                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 16, 2023 at the address(es) listed
below:
Name                                  Email Address
Office of the United States Trustee
                                      USTPRegion02.BR.ECF@usdoj.gov

Rachel S. Blumenfeld
                                      on behalf of Debtor Showfields NY 2 LLC rachel@blumenfeldbankruptcy.com

Yann Geron, Esq.
                                      ygeron@geronlegaladvisors.com nsantucci@geronlegaladvisors.com;jlitos@geronlegaladvisors.com


TOTAL: 3
                  Case 1-23-43691-jmm                           Doc 23       Filed 10/19/23             Entered 10/20/23 00:10:26


  Information to identify the case:
  Debtor
                 Showfields NY 2 LLC                                                EIN:   87−3521420
                 Name

  United States Bankruptcy Court     Eastern District of New York                   Date case filed for chapter:    11   10/11/23

  Case number:       1−23−43691−jmm


                        NOTICE OF CONSOLIDATION WITH AMENDED CAPTION
NOTICE IS HEREBY GIVEN THAT:

The above−captioned debtor(s) having filed a petition under Chapter 11 of the United States Bankruptcy Code on October
11, 2023, and an order having been signed by the Honorable Jil Mazer−Marino on October 16, 2023, Jointly
Administering the case and amending the caption.

The caption is amended as set forth below:

IN RE:

SHOWFIELDS, INC., et al.,
                                                                                                                   CHAPTER: 11
                                      DEBTOR(s)

           An order has been entered consolidating these Chapter 11 cases for Procedural Purposes Only and
           providing for its joint administration. All further original docket entries shall be made on the Lead Case:
           23−43643−JMM except for schedules, claims, claim motions, claim orders and adversary proceedings.
           Operating reports should be docketed on the Lead Case with a notation in the text window as to which
           case it relates to. If the cases are Chapter 11, the Chapter 11 Plan and Disclosure Statement should be
           docketed on each individual case.
           An order has been entered Substantively consolidating these Chapter 11 cases and providing for their
           joint administration. All further docket entries and proof of claims, shall be made on the lead case docket
           number: 23−43643−JMM.
Dated: October 16, 2023

                                                                               For the Court, Robert A. Gavin, Jr., Clerk of Court




 BLacc1d2.jsp [Notice of Consolidation with Amended Caption rev. 07/09/18]
